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AO 245 S (Rey. 1/01) She 2 4 Criminal Case _ 1 Soper E56

 

Qnited States District Court | ce_ 7 2043

Northern District of Texas
San Angelo Division

CLERK, U.S. oh ian COURT
B
UNITED STATES OF AMERICA y

Deputy

 

 

 

Vv. Case Number 6:12-CR-040-04-C

; USM No. 44856-177
AMANDA RAELEEN SOTO

Defendant.

JUDGMENT IN A CRIMINAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant, AMANDA RAELEEN SOTO, was represented by Laurie L. Key.
On motion of the United States, the court has dismissed the remaining counts of the indictment as to this defendant.

The defendant pleaded guilty to count 3 of the indictment filed on 08/08/2012. Accordingly, the court has adjudicated
that the defendant is guilty of the following offense:

Count
Title & Section Nature of Offense Date of Offense Number
21 U.S.C. § 841(a)(1) — Possession With Intent to Distribute 04/04/2011 3
& (b)(1)(C) and Methamphetamine and Aiding and
18 U.S.C. §2 Abetting

As pronounced on 02/07/2013, the defendant is sentenced as provided in pages 1 through 4 of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

It is ordered that the defendant shall pay to the United States a special assessment of $100.00, for count 3, which shall
be due immediately. Said special assessment shall be made to the Clerk, U.S. District Court.

It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this

Judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant’s economic circumstances.

Signed this the___7th__ day of February, 2013. Stes

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AO 245 S (Rev. 01/01) Sheet 2 - Imprisonment

Defendant: AMANDA RAELEEN SOTO Judgment--Page 2 of 4
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IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a term of 41 months.

The defendant shall remain in custody pending service of sentence.

The Court recommends that the defendant be placed at FPC Bryan, Texas.

 

 

 

 

 

RETURN
I have executed this Judgment as follows:
Defendant delivered on to
at , with a certified copy of this Judgment.
United States Marshal
By

 

Deputy Marshal

 
 

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Defendant: AMANDA RAELEEN SOTO Judgment--Page 3 of 4
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SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years.

The defendant shall report to the Probation Officer in a manner and frequency directed by the Court or Probation
Officer.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance.
For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as directed by the probation
officer.

O The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
future substance abuse.

& The defendant shall not possess a firearm, destructive device or any other dangerous weapon.

® The defendant shall cooperate in the collection of DNA as directed by the probation officer.

O The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C.
§ 16901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency
in which he or she resides, works, is a student, or was convicted of a qualifying offense.

Q the defendant shall participate in an approved program for domestic violence.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant
pay any such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with
the Fine and Restitution sheet of the judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The
defendant shall also comply with the additional conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) The defendant shall not leave the judicial district without the permission of the court or probation officer.

2) The defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer.

3) The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer.

4) The defendant shall support his or her dependents and meet other family responsibilities. .

5) The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training,
or other acceptable reasons.

6) The defendant shall notify the probation officer at least ten days prior to any change in residence or employment.

7) The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer
any controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician.

8) The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.

9) The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
convicted of a felony unless granted permission to do so by the probation officer.

10) The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view by the probation officer.

11) The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer.

12) The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court. ;

13) As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement.

 
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AO 245 S (Rev. 01/01) Sheet 3a - Supervised Release

Defendant: AMANDA RAELEEN SOTO Judgment--Page 4 of 4
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SPECIAL CONDITIONS OF SUPERVISION
While the defendant is on supervised release pursuant to this Judgment:
1. The defendant shall participate in a program (inpatient and/or outpatient) approved by the U.S. Probation Office

for treatment of narcotic, drug, or alcohol dependency, which will include testing for the detection of substance

use or abuse. The defendant shall contribute to the costs of services rendered (copayment) at a rate of at least
$10.00 per month.

2. The defendant shall abstain from the use of alcohol and all other intoxicants during the term of supervision.

 
